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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA and                )
COMMONWEALTH OF MASSACHUSETTS               )
ex rel. JULIO ESCOBAR and                   )
CARMEN CORREA,                              )
          Relators-Plaintiffs,              )
                                            )
           v.                               )     CIVIL ACTION
                                            )     No. 11cv11170-DPW
UNIVERSAL HEALTH SERVICES, INC.,            )
UHS OF DELAWARE, INC. and                   )
HRI CLINICS,                                )
          Defendants.                       )




                         ORDER OF DISMISSAL

WOODLOCK, D.J.

     In accordance with the Joint Stipulation of Dismissal [ECF

#313] filed on July 21, 2020, it is hereby ORDERED the above-

entitled action be, and hereby is, DISMISSED with prejudice.


                                      BY THE COURT,

                                      /s/ Barbara I. Beatty

DATED:   July 22, 2020                Deputy Clerk
